2018-12-06 15:54                                 ProgressiveInsurance: 1 >> 407 540 me)
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                 Danambar a OMA ansg
                 December 6, 2018
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                                                                           ProgressiveySelect Insurance Company
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                                                                           Maitland Claims Office
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                                                                           901 N.' Lake, Destiny Road,, Suite 200
                                                                           Rania        an7E4
                                                                           Maitland, FL 32751

            Mey       mit
            Paul Perkins, Esq.
                                      Po
            Paul & Perkins, P.A.
            711N. Orlando Avenue, Suite 202
            Ratna        anze4
            Maitland, FL 32751
            rH, fanny ran nran
            Fax (407) 540-0510

            5
            Re:             Privs bene     oly                    ayn.
                            Our Insured:         Angela Maria Seda1 Borrero)
                                  Menta
                            Plating         AQ AArRaey
                            Claim Number: — XX-XXXXXXX
                            Tata -f bana.        aniainnan
                            Date of Loss:        10/1/2018
                            Nin AM
                            Your Client:
                                                 ‘       aoe
                                                 James Spalding


            Dear Mr. Perkins:


            It  appears the previous adjuster had a type-o in her November 28, 2018 property damage offer letter. The
                 tin] Banh by Malin
             Aatun|            Valen    Af vane Aantin
                                                 Vnntle, wn   mnt
                                                            ndanns                                \        : ”        : -
            Actual Cash Value of your client's motorcycle including tax is $8,372.33. We estimate the value of your
            aliantn halmat nt OCA AN otal ey
            client's; helmettotat $250.00, which              a bk                            '     ne
                                                                                                               ny          *
                                                                                                                             wy
                                                   eywould1 be total of $8,622.33. Moto Lease has informed| us the loan payoff
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                                         in eras   oan sadltaky
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            Amnvent      £09 DON AA AL tek ee ey                   ane    a
            for your client’s loan is $5,262.21, which would equate to a property damage payment to your client in the
                                                                                                  -       ST
            amount of $3,360.12.: Please: let me knowtifthis}offer is\ acceptable:at your earliestt ability.
                                                                                                                    et


                  ould      you have any questions,   please feel free to contact me at the number below.


            Singerel




            Ja$on Gray
                 tating Re
            Claims3Specialisttom
                              Lead
            An? 240 275
            407-618-8702
            Pa. AA Ran Anan
            Fax: 407-618-8836




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